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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NATHSON E. FIELDS,                           )
    Plaintiff,                               )
                                             )   No. 10 CV 1168
      v.                                     )
                                             )   Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                      )
     Defendants.                             )

    REPLY TO PLAINTIFF’S SUPPLEMENTAL MOTION TO MAKE PUBLIC THE
    NAMES OF VICTIMS IN THE SINGLE FILE CABINET VIEWED BY COUNSEL

        NOW COMES Plaintiff Nathson Fields, by and through his attorneys, and hereby

replies to the city’s response as follows:

        THE CITY’S RESPONSE

        In a nutshell, the city states that Plaintiff's motion should be denied because the

supplemental motion is "thin on detail," is based on speculative inferences and

conjectures, and is unrelated to Plaintiff’s case. The city is wrong on all fronts. In

addition, and most notably, the city’s response does not support its assertion that there

would be any harm to the city in disclosing the names of the homicide victims from

thirty to sixty years ago (Response at pages 3 and 14) and, more to the point, the city has

not produced any evidence to suggest that the limited investigation by the Plaintiff is

not accurate. 1 Instead, the city complains that counsel should be made to do a more

exhaustive examination before the mere names of the homicide victims from that one

Area 1 file cabinet with files dating from between 1946 and 1987 see the light of day.

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 The city does contend that the           file is appropriately labeled “open” however that
file illustrates the disturbing fact of how exculpatory information can be hidden away in
what might otherwise be considered an “open” file.
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       ARGUMENT

       There are really several issues here—one, is that Plaintiff’s motion concerns the

same file cabinet that the city thinks might have held the Plaintiff’s file while it was

“missing” for almost 28 years and, therefore, the fact that there might be other files in

the cabinet that are not “open” but are instead “mistakenly” placed in the cabinet is

pertinent to this case. Second, Plaintiff has a Monell claim in this case, and these files

could be used as evidence of an unwritten policy for Monell purposes. Third, the city’s

past compliance history and its systematic failure to locate and turn over files is also

relevant to demonstrate the city's intent in this case. Fourth, in this day and age of

information technology and electronic data storage, the city's maintenance of these

records in such an antiquated manner evinces a deliberate intent to prevent their

discovery, and to keep affected individuals incarcerated. Fifth, there is the issue

regarding the fact that there are exculpatory materials relating to other individuals in

these files -- files that the city has admitted it has not reviewed or inventoried in this file

cabinet (or the other 20 or more other file cabinets in the basement). Finally, at least two

of the files that have been tendered to Plaintiff’s counsel involve homicides that are not

only “closed” but were investigated by some of the same defendants named in this case,

a fact which goes to the motivation and intent of those defendants.

       As noted above the city has not properly argued any harm to it in releasing the

names of the homicide victims, and it has not attempted to properly assert a law

enforcement privilege. In order to properly assert such a privilege, the law requires

that an affidavit be submitted before the privilege can be sustained. Hallett v.

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Village of Richmond, No. 05 C 50044, 2006 WL 2088214, at *2 (N.D. Ill. July 25,

2006) (to assert the law enforcement privilege, “a responsible official in the

department must lodge a formal claim of privilege, after actual personal

consideration, specifying with particularity the information for which protection is

sought, and explain why the information falls within the scope of the privilege”). In

addition, the law enforcement privilege is qualified and not absolute, Craig v. City of

Chicago, No. 08 C 2275, 2010 WL 529447, at *1 (N.D. Ill. Feb. 8, 2010), and the city bears

the burden of establishing the need for the privilege in a particular case. Id. at *2. The

city cannot establish such a need here because many of these files are actually not

“open” at all – as individuals have been arrested, tried, and convicted of the crimes to

which these files pertain, and are currently serving time in prison on those charges. In

fact, some of these files could only be deemed to be “open” in the sense that there is

reason to doubt the conviction because of the hidden street file.

       However, even assuming that all of the files were open, there is no danger at all

in releasing the names of the homicide victims. “The purpose of the law enforcement

privilege is to prevent disclosure of law enforcement techniques and procedures, to

preserve the confidentiality of sources, to protect witnesses and law enforcement

personnel, to safeguard the privacy of individuals involved in an investigation, and

otherwise to prevent interference with an investigation.” Santiago v. City of Chicago, 09 C

3137, 2010 WL 1257780, at *2 (N.D. Ill. Mar. 26, 2010). Release of the names of homicide

victims alone will not compromise any of the factors that justify assertion of the

privilege.

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       On the other hand, there are incredibly strong reasons to deny any assertion of

the privilege over these names -- first and foremost is that privileges should never act

to cover up illegal and unconstitutional conduct. In addition, there is the fact that

individuals are suffering in prison after being denied their constitutional rights in

their criminal proceedings; also, the public has an interest in these crimes being

solved correctly, with the correct perpetrator brought to justice which justifies

examining files that might have been withheld. As further described below, the

police have been and still are engaging in a practice that is unconstitutional and

this has been the subject of federal litigation that tried to bring a stop to the

practice in the past, and so examination of the files is warranted to finally root out

this practice.

       A. The               Investigative File

      The city contends that the language used by counsel somehow confirms that

counsel is only speculating as to whether or not the entire      file was ever tendered.

Counsel have been very careful about the wording used, for obvious reasons -- counsel

does not have every piece of information that was tendered in the case, cannot discuss

the file contents with the defendants and attorneys from those cases and therefore can

only state as to what they have seen and the inferences that can be drawn from that

information. In the case of the            and           files, Plaintiff’s counsel have

considered an extensive body of materials. Both of those files had trials where

convictions were secured, men are still incarcerated and both of those files were

investigated by some of the same CPD defendants as in this case.


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      As to the city’s objections regarding Plaintiff’s position vis-à-vis the           file,

counsel for the Plaintiff state the following:

   1. The city contends that Plaintiff provided no factual support to suggest that

       “      ” was on the scene at the time of the murder of               Unbeknownst

       (apparently) to the city, it has provided that factual support in its own Exhibit D

       to its Response at CITY-NF-13047. The police report lists the individuals at the

       scene and an interview of the various individuals. According to the police report,

                         was at the scene, interviewed by the police and he claimed that

       he “saw nothing.”                     is      . The same                    aka

       that was arrested for the unlawful use of a weapon on the night of the

       murder in a car that matched the getaway car. (Motion at 7-8 and Ex. H)

   2. In addition, the city provides the subpoenas from the federal government to the

       CPD in the El Rukn trials, as evidence as to the size of the materials tendered by

       the city in the federal El Rukn trials regarding the       case, the Hickman-Smith

       case and the                       case. Although the         investigatory file that

       counsel for Petitioner has reviewed from the basement contains 116 pages only

       23 pages in total were apparently tendered in the             federal litigation (19

       pages were tendered by the city in the federal Hickman-Smith litigation,

       although Plaintiff now has 145 pages from the missing street file alone.)

   3. The city also provided some of the testimony of                              from the

       1988 trial, that testimony also confirms that counsel for the defense did not have

       the complete file. In the testimony from the trial                   stated that he

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    went to the police station the night of the murder, that after he left the police

    station he was never contacted again until May of 1985. However, in the street

    file, investigative notes show that                  after going to the police station

    returned to the scene of the crime with police and identified a portion of a

    parked vehicle where                     supposedly touched or leaned upon; palm

    prints were subsequently lifted from this vehicle by the CPD. The car apparently

    belonged to                   cousin and the palm print ultimately did not match

    those of                   That additional information did not come out in

                testimony as tendered by the city. (Ex. I)

4. In addition, the investigative file shows that one of the government’s main

    witnesses                    could not identify                  as an offender until

    another supposed witness (                     ) ostensibly told police that one of the

    offenders was an “El Rukn” and was shown a CPD photo book of known “El

    Rukns.” (              was not listed in the initial report as being on the scene of

    the murder.)               identified                 photo as an individual outside

    the bar at the time of the murder. The photo of                   was then shown to

                and only then did           identify          as the individual he saw at

    the scene. The investigative file confirms that the ASA’s refused to have a

    warrant issued for                      based on the flimsy photo evidence. The

    detectives later brought         back to view a line-up of Hawkins (whose photo

    had already been shown to him) and, with a new assistant state’s attorney, the

    CPD were able to proceed to obtain charges against               . Based on counsel’s

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    review of the case file and transcript, that information was not available at the

    trial. (Exs. J at CITY-NF-13041 and K)

5. As again outlined by the Federal Government in its materials appended to the

    city’s response, the testimony of Earl Hawkins was crucial in the retrial. Earl

    Hawkins has repeatedly admitted that he would, and did, say anything to avoid

    the death penalty. In addition, and as outlined in the initial motion, Hawkins

    admitted that the         case was the first one he cooperated in because he

    thought he couldn’t get charged again, and Detective Brannigan told him "You

    got to show something that would show good face (sic) … You better come up

    with something quick.” (Exs. F and G.)

6. In Fields’s Motion filed under seal on September 11, 2013 (docket at 414) counsel,

    by way of background, discussed the line-up issues involving Mr. Fergerson.

    (Motion at 5.) The city and the individual defendants claim that this was a simple

    “mistake.” That position strains credibility when viewed in light of all of the

    other “mistakes” in this matter. In fact, multiple line-ups of members of the El

    Rukns were being conducted during this time because of the cooperation of

    Anthony Sumner. By way of further example, the line-up report of George

    Carter, an original co-defendant in the Hickman and Smith murder, apparently

    took place on May 18, 1985 at 1750 hours without him being present. Carter was not

    arrested until May 21st, 1985, three days after Carter’s supposed “line-up.” (Exs.

    L and M) Defendants contend that this was just another mistake, however it is

    clear that the CPD officers and detectives, some of whom are defendants in this

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       case, were manipulating the names provided by Sumner and rearranging the

       defendants’ charges based on their alibis.

   7. Finally, the         murder was investigated by some of the same detectives

       involved in this case. Defendants Murphy, Brannigan, O’Callaghan and Kolovitz

       were involved in the          investigation. Specifically, Defendant Murphy was

       involved in the shenanigans involving the photo identification of Hawkins and

       the subsequent line-up.

      Again, these facts, some actually supplied by the city in its response, provide

strong evidence that the investigative files hidden in the boiler room were not tendered

to the defendants in their trial. Furthermore, the fact that the            homicide file,

which in no way was or could have been considered “open,” was hidden in a file

cabinet with supposedly “open” files – in ostensibly the same cabinet that Mr. Fields file

was hidden for some or all of 28 years -- raises a strong probability that this file was

never turned over to the defendants in the state proceeding, or in the federal

proceeding. There are still men in prison who were convicted in the          murder and

counsel believes that this file should be made available to those men and their

attorneys.

       B. The                       Investigative File.

       Again the city ignores the very substantial factual information provided

regarding the murder of                          and attempted murder of                 ,

including eye witness identifications of the real culprit, not only from

herself but also from the other woman in the car (                 who escaped and who

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admitted being in on the plan to shoot                 (although she claims not to have

known           would be murdered). This file is also not an “open” file as there was a

trial and convictions that were not overturned. According to the city, the fact that

        identified the man who tried to shoot her, that he was not an El Rukn, and the

fact that her identification of that individual was not mentioned by any of the defense

counsel at the El Rukn federal trial is not conclusive of anything. That argument is

absurd on its face. Counsel for Fields suggests to this Court that there is a strong

inference that could be made that none of the defendants or their counsel knew of this

exculpatory information and in fact the city’s suggestion requires speculating that each

of the defense counsel chose to ignore the admission by the victim that she knew her

attacker and it was not one of the defendants.

      In the            case the city again attempts to hang its hat on the federal

government inventory but again that inventory falls short and adds credence to the

claim that the entire file was not turned over in the trial. The inventory shows 59 pages

of documents turned over. The investigative file alone, that was found in the basement,

includes 142 pages. In addition, like the        file (and the Hickman Smith file) there

was a trial in this matter (in federal court) and convictions were obtained that were not

overturned – there is no reason for this file to be hidden in the boiler room with “open”

files. Finally, this murder too was investigated by several of the named defendants in

this case including defendant Brannigan, defendant O’Callaghan and defendant

Murphy -- showing a pattern of hidden files associated with these defendants.

      C. The                   Homicide File

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        As counsel stated in regards to this file, as far as they can determine, the file is

genuinely open and no defendant has been charged or convicted of

murder. Counsel note that the file itself includes several other record division files

within that file and counsel have not determined whether each of those files is open (or

if documents from those other RD files were hidden in this file as in the            file) nor

have they determined why so many separate RD files are included within this one file.

        D. & E. The                 and                   Homicide Files

       These are the two files that the city has refused to tender to counsel for the

Plaintiff. As mentioned in the initial motion, the         file contains cryptic references to

the Dee Eggers Vaughn murder 2 and also to another supposed “El Rukn” related

homicide (the Harold’s Chicken shack shooting in April, 1985). One of Plaintiff’s

counsel spent two afternoons reviewing the three files at the Dykema office (after that

review the city agreed to provide the             file but not these two files). However, this

was not enough time to ascertain the nature and origins of a bound calendar-type book

contained within the file, a book which included references to one of the double

murders with which Plaintiff was charged (Vaughn and White). If the file were actually

tendered to counsel, a more substantial review of the file and the bound book could be

conducted, and the nature of this reference to the Vaughn and White double murder

could be established conclusively. As also stated in Plaintiff’s initial motion, without



2This was the double murder that Anthony Sumner originally accused Mr. Fields of
being involved in, and which was used against Fields in sentencing to allow for his
execution; Sumner later admitted he made this up because he was mad at Fields for
evicting him and his family from their apartment for nonpayment of rent. (Ex. B)
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having the documents to compare to actual court documents in that case, Plaintiff could

not make a final determination regarding the information she reviewed -- only that it

appeared exculpatory and troubling.

      Finally, the        file contains documents that address issues relating to the

Gangster Disciples and to that particular gang’s internal fights, including murders,

relating to drug sales within the gang. This was the actual reason Plaintiff initially

sought the file, as the city has taken the position that there was a major feud between

the Disciples and the El Rukns. This file establishes that in reality there was a major

feud within the Disciples organization itself -- relating to drug trafficking.    Again,

counsel could only perform a cursory examination of this file, other RD numbers are

also associated with this file, and counsel have not been afforded an opportunity to

compare those documents with court documents from subsequent criminal

prosecutions because of the city’s refusal to tender the two files.

      Counsel does not know if the suspect in the          murder was actually arraigned

in that case, but it does appear that the matter went before a grand jury. What is also

clear is that the accused ultimately couldn’t be convicted of the murder of Mr.

because he would have been a young child at the time of the murder. Unfortunately for

the suspect, he was in the clutches of the CPD and was instead charged with two other

murders. Exculpatory information that would have helped the accused in those other

murder trials is hidden away in the        murder investigative file.

      The city mocks the Plaintiff’s counsel’s inability to provide supporting material,

when it is the city itself that has actually withheld the files, and denied Plaintiff the

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opportunity to present a more detailed argument. The city also mocks Plaintiff’s

counsel because the exculpatory materials in the          file relate to cases other than that

for which the suspect was ultimately tried and convicted. Actually, the fact that open

files are being used as a repository for exculpatory information in other cases, and that

no city personnel have examined these files is deeply troubling, and establishes the

need for a full review of all of the “open” files—not the mocking of counsel who have

uncovered this malfeasance.

            F. DIRECT RELATION TO PLAINTIFF’S CASE

         It is clear that counsel for Plaintiff have found the CPD’s secret hiding place for

stashing Area 1, 3 and 4 files that it does not want to tender to defendants in criminal

prosecutions. In response to this discovery, the city balks at having the files disclosed

and examined, and argues that the files, both open and closed, associated with the file

cabinets in the boiler room have no relation to the Plaintiff’s case. However, in Plaintiffs

third amended complaint at paragraphs 63 to 67, Mr. Fields sets out, in no uncertain

terms, a street files practice claim. Proving that claim requires Mr. Fields to show other

instances where this CPD practice resulted in a wrongful conviction. The production

and public disclosure of the files is necessary, so that Mr. Fields has access to the context

necessary to show a pattern of Brady violations resulting in wrongful convictions that

would have put the City on notice that it had an ongoing problem that needed to be

fixed.

         The fact of the files’ existence isn’t enough on its own—Mr. Fields needs to be

able to compare the contents of and facts contained in those files to other publically

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available records, records pertaining to the criminal proceedings, and the people who

have been involved in the prosecution and defense of these individuals in order to

properly prove up Mr. Fields Monell claim. Counsel believes that they will be able to

show individuals who are still wrongfully in prison today, based on the withholding of

these files, but it is necessary to talk with those individuals and their attorneys and to

pursue admissible evidence. In addition, the fact remains that individual CPD

defendants in Mr. Fields’ case repeatedly maintained and kept hidden street files

containing material, exculpatory evidence in other cases. That they repeatedly did

so is evidence that they did so in Fields’s case.

       The fact that these files exist is made more troubling, and the need for their

production and removal from the protective order is made more essential, by the

litigation on the issue of street files that took place in the Seventh Circuit in the early

1980s in the Palmer and Jones cases (Palmer vs. City of Chicago 755 F.2d 560 (7th Cir.1985);

Palmer vs. City of Chicago 806 F.2d 1316 (7th Cir. 1986) and Jones v. City of Chicago, 856

F.2d 985 (7th Cir. 1988). In Palmer, the city conceded in the district court that the

practice of maintaining a separate street file that was not turned over to defendants

violated the Constitution. What happened to Mr. Fields demonstrates that the practice

of maintaining clandestine street files continued even after the courts had already gone

to great length to curb the practice, and after the CPD and city leadership stood up in

court and promised to put a stop to the practice. Access to these files will help Mr.

Fields show that the City and individual defendants were engaged in a practice of

withholding street files from criminal defendants, even as they told the federal courts in

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Chicago that the practice had ceased. What has also been uncovered is that files that are

in some respects “open” are also being utilized to hide exculpatory information that

should have been provided to defendants in other criminal proceedings.

      Mr. Fields is a victim of this policy, and counsel would like the opportunity to

fully investigate all of the file cabinets to ascertain and show the jury how widespread

the policy is, and how many people have gone to prison because the exculpatory

information was hidden from them pursuant to this policy. This Court warned the city

not to move the files and Mr. Fields will be asking this Court to allow the jury to visit

the boiler room at 51st and Wentworth to see for themselves the cache of files being

stored without an inventory. At a minimum, counsel would like to fully review the

materials in the one file cabinet that the city thinks might have held the Hickman and

Smith investigatory file -- and explain these contents to the jury. This review can be

done much more straightforwardly if the names from that file cabinet are made public,

so that Plaintiff’s counsel can talk with the individuals convicted of those murders (and

their attorneys) about the materials provided to them at their trials.

      In addition, in the few files that counsel have been allowed to review, it is clear

that some of the named defendants in this case have substantial ties to other files which

have no place in this file cabinet. Neither the         nor the          files are properly

designated as open as both have gone to trial, convictions were obtained and men are

still imprisoned for those crimes -- as discussed above, several of the named defendants

in this case were involved in those investigations. Despite these facts, the files have been

hidden in a file cabinet which has been shielded from defendants in their criminal trials.

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      CONCLUSION

       The few files reviewed and the names of the victims of other files within that

cabinet strongly suggests that if the names of the victims corresponding to the single

homicide file cabinet that Plaintiff’s attorneys were allowed to inventory -- were to be

made public, there would be several individuals, some of whom are still in prison, who

could establish that Brady material was never turned over by the city in their criminal

cases. The city knows this and the city also knows that this information would go a

long way in establishing that it has continued to maintain its policy of withholding

exculpatory information from defendants in homicide cases, including in the Plaintiff’s

case. If this Court were to allow the list of victim names to be publicly released, counsel

believes that, at very minimum, individuals who were not provided complete

investigatory information from the files found in that particular cabinet, would have an

opportunity to have that information reviewed and Plaintiff could, in turn use that

information to establish liability on his Monell claim.

       If this Court is still reluctant to release the names of the homicide victims the

disclosure of the RD#’s for those cases will also allow for an investigation of the files --

it will just require an extra step of reviewing city records to ascertain those names.

       Wherefore, Plaintiff asks that this Court -- in the interest of justice -- allow his

counsel to release the names of the deceased victims from the one file cabinet

inventoried by counsel, and for such other and further relief as this Court deems just.

                                             Respectfully Submitted,

                                             /s/H. Candace Gorman

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                              CERTIFICATE OF SERVICE


      I, H. Candace Gorman, hereby certify that the foregoing Reply to Motion was

served to the parties by email.




Dated: October 16, 2013

                                              Respectfully Submitted,

                                              /s/H. Candace Gorman
                                              One of the Attorneys for Fields



For Fields:

                                              H. Candace Gorman
Leonard C. Goodman                            220 S. Halsted
Melissa Matuzak                               Suite 200
53 W. Jackson Boulevard                       Chicago Illinois 60661
Suite 1650                                    312-427-2313
Chicago, Illinois 60604
312-986-1984




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